This is an action instituted in this court wherein the relator seeks a peremptory writ in mandamus commanding the county auditor to draw a warrant upon the county treasurer for an aggregate sum claimed to be due for board, clothing, etc., provided by the board of state charities pursuant to law.
The petition and amendment allege that the juvenile court, between August 17, 1921, and April 2, 1924, committed certain dependent minors to the board, which had provided necessities for such minors and furnished detailed statements showing the time, charges, and character of expenses incurred in behalf of such dependent minors. A *Page 693 
general demurrer was interposed to this petition, challenging the employment of a writ of mandamus in a case of this character. On April 21, 1925, this court overruled this demurrer on authority of State ex rel. Price, Atty. Gen., v.Huwe, 103 Ohio St. 546, 134 N.E. 456, and other cases appearing in the journal entry overruling the demurrer. On May 25, 1925, the defendant filed his answer. The first defense therein is substantially a general denial. The second defense alleges that a large majority of the commitments were temporary, and not permanent, and that the charges made for all such temporary commitments were illegal and void, since there were no provisions of law whereby the county was made liable for expenditures by the board where commitments were temporary only. Other defenses of less importance were contained in the answer, questioning liability arising out of the character of the commitments in certain cases. A special master was appointed, who made certain findings of fact and conclusions of law. He found, as claimed in the answer, that a large majority of the commitments were in fact temporary, and that only a few were permanent. Thereupon the cause came on to be heard upon a motion to confirm the report of the special master, the determination of which under his findings depends upon the sole question whether under our existing statutes a county becomes liable for such necessary expenses incurred in behalf of dependent minors for temporary as well as permanent commitments made by the juvenile court.
In this action the relator relies upon the provisions of Section 1352-4, General Code, (108 Or. L., *Page 694 
pt. 2, 1158). This section, after providing for the payment of traveling expenses from funds appropriated to the board, stipulates that "the amount of board, if any, paid for the care of such child and the expense for providing suitable clothing and personal necessities," etc., "shall be charged by the board of state charities to the county from which such child was committed."
The same section provides that these expenses may also be charged to the county from which the child was transferred, as provided in the preceding section.
The phrase "such child" evidently refers to those dependent or neglected minors committed to the care of the board by the juvenile court, under the authority of Section 1352-3 and other cognate sections of the Code touching the subject. The opening sentence of Section 1352-3, General Code (which is part of the act comprising Section 1352-4, General Code), reads as follows:
"The board of state charities shall, when able to do so, receive as its wards such dependent or neglected minors as may be committed to it by the juvenile court."
These commitments may be either temporary or permanent. Temporary commitments are also recognized by Section 1672, General Code. Section 1352-4, General Code, explicitly requires that the amount of board paid for the care of such children, dependent or neglected, together with other expenses therein named, "shall be charged by the board of state charities to the county from which such child was committed or transferred as provided in Section 1352-3." There is no implication *Page 695 
in that provision that such board and expenses should be charged only to a county from which such child was permanently committed; nor does it imply that temporary commitments are to be excluded from its operative provisions. The above language is clear and sufficiently comprehensive to embrace charges against the county under either form of commitment. We see no reason for modifying the explicit language of the section above quoted by applying its provisions to permanent commitments only; nor can we perceive any reason why the Legislature would attempt to make any distinction between temporary and permanent commitments in placing the burden of caring for dependent or neglected minors upon "the county from which such child was committed."
For the reasons stated, the report of the special master commissioner is confirmed, and a peremptory writ allowed as prayed for.
Writ allowed.
MARSHALL, C.J., JONES, MATTHIAS, DAY, ALLEN and KINKADE, JJ., concur. *Page 696 